Case 1:15-cv-01624-RM-NYW Document 17 Filed 08/31/15 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Raymond P. Moore

  Civil Action No. 15-cv-01624-RM

  ABSOLUTE HEALTH CENTER, INC., a Colorado Corporation;
  DR. ALICE L. RATCLIFFE, D.C., Individually; and
  COLORADO CHIROPRACTIC NEUROLOGY CONSULTANTS, INC., d/b/a N-8
  CHIROPRACTIC & WELLNESS, a Colorado corporation,

         Plaintiffs,

  v.

  MULTIPLAN, INC., a New York corporation;
  MULTIPLAN SERVICES CORPORATION, a Delaware corporation; and
  JOHN DOES #1-100,

        Defendants.
  ______________________________________________________________________________

      ORDER APPROVING STIPULATION DISMISSING MULTIPLAN SERVICES
                      CORPORATION WITHOUT PREJUDICE
  ______________________________________________________________________________

         THE COURT, having reviewed the Stipulation for Dismissal of Defendant Multiplan

  Services Corporation Without Prejudice (ECF No. 16), hereby APPROVES the same as an Order

  of the Court.

         THEREFORE, Defendant Multiplan Services Corporation is hereby DISMISSED

  WITHOUT PREJUDICE.

         DATED this 31st day of August, 2015.

                                                  BY THE COURT:



                                                  ____________________________________
                                                  RAYMOND P. MOORE
                                                  United States District Judge
